Case 21-02092-CMB        Doc 43    Filed 08/26/22 Entered 08/26/22 10:39:21      Desc Main
                                  Document      Page 1 of 1



                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA
____________________________________
IN RE:                                : Bankruptcy No. 21-20791-CMB
                                      :
Samuel A. Rosenberg and               :
Christine E. Rosenberg,               : Chapter 7
                                      :
                    Debtors.          :
___________________________________ :
                                      :
LWBC, LLC, as successor in interest   : Adversary Pro. No. 21-02092-CMB
to Dollar Bank, Federal Savings Bank, :
                                      :
                    Plaintiff,        :
                                      :
              v.                      : Related to Doc. No. 1
                                      :
Samuel A. Rosenberg and               :
Christine E. Rosenberg,               :
                                      :
                    Defendants.       :
___________________________________ :


                                          ORDER

       AND NOW, this 26th day of August, 2022, for the reasons set forth in the Memorandum

Opinion entered on this date,

       It is hereby ORDERED, ADJUDGED, AND DECREED that:

   1. The request for denial of discharge in the Complaint to Determine Dischargeability of

       Debts is GRANTED pursuant to 11 U.S.C. §727(a)(4)(A).

   2. Debtors, Samuel A. Rosenberg and Christine E. Rosenberg, are both DENIED a discharge.

   3. The above-captioned adversary proceeding is resolved.

                                                 /s/ Carlota M. Böhm___________
                                                 Carlota M. Böhm
                                                 Chief United States Bankruptcy Judge

      FILED
      8/26/22 10:36 am
      CLERK
      U.S. BANKRUPTCY
      COURT - WDPA
